51 F.3d 267
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Ricky A. PIERCE, Plaintiff-Appellant,v.Roderick KEARNEY, Correctional Officer;  Eugene Warwick,Sergeant;  North Carolina Department ofCorrections, Defendants--Appellees.
    No. 94-7102.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  March 15, 1995.Decided:  April 3, 1995.
    
      Ricky A. Pierce, Appellant Pro Se.  LaVee Hamer, Office of the Attorney General of North Carolina, Raleigh, NC, for Appellees.
      Before RUSSELL and WILLIAMS, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's orders denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  Our review of the record and the district court's opinions discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Pierce v. Kearney, No. CA-93-113-BR (E.D.N.C. Aug. 19, 1993 and Aug. 18, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    